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Plaimiff, )
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v. ) Civil Action No. 05-2430
) JuRY DEMANI:)ED
REcloNs FlNANclAL )
coRPoRATloN, )
)
Defendant. )
)

 

ORDER GRANT|NG DEFENDANT’S MOT|ON FOR ENLARGEMENT OF T|ME

 

|T |S HEREB¥ ORDERED, ADJUDGED, AND DECREED upon the Motion for
Enlargement of Time of Defendant, Regions Financial Corporation, that Defendant is
granted an enlargement of time, up to and including August 4, 2005, within which to move,

plead cr otherwise respond to Plaintiff’s Comp|aint.

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APPROVED FOR ENTRY:

RA|NEY, KIZER, REVlERE & BELL, P.L.C.

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Z?ID Kizer, Jr.f(BpR #7652)
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UN1TED `sTATs DTRC1S1T COURT - WESTRNE 1CSR1T OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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US DISTRICT COURT

